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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                  Cr. No. 20-113 (DSD/BRT)

UNITED STATES OF AMERICA,                      )
                                               )
                         Plaintiff,            )
                                               )       DEFENDANT’S MOTION TO
                 v.                            )       DISCLOSE AND MAKE
                                               )       INFORMANT AVAILABLE
JOSE A. FELAN, JR.,                            )       TO INTERVIEW
                                               )
                         Defendant.            )

          The defendant, Jose Felan, by and through his attorneys, Sicoli Law, Ltd. and Robert D.

Sicoli, respectfully moves the Court for an Order requiring the government to disclose the

identity of any informant or informants utilized by the government in the investigation in the

above-entitled matter, and to make such informant(s) available for interview by Defendant’s

attorney in preparation for trial, and disclose prior criminal convictions of such informant(s).

          This Motion is based upon the Indictment, and the records and files in the above-entitled

action.

Dated: June 1, 2021                                    Respectfully submitted,

                                                       SICOLI LAW, LTD.



                                                       By: /s/ Robert D. Sicoli____________
                                                              Robert D. Sicoli
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